Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25              Page 1 of 14




                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

 IN RE:
          SHARON KENNEDY,                        )             Case No. 17-03101-5-JNC
            Debtor                               )
                                                 )             Chapter 13 Adv. Proc.
          SHARON KENNEDY,                        )
            Plaintiff                            )             No.
                                                 )
          v.                                     )
                                                 )
          CALIBER HOME                           )
          LOANS;                                 )
          SPECIALIZED LOAN                       )
          SERVICING, LLC;                        )
          SUBSTITUTE                             )
          TRUSTEE                                )
          SERVICES, Substitute                   )
          Trustee                                )
            Defendants


       COMPLAINT OBJECTING TO PROOF OF CLAIM; SEEKING CLAIM
     DETERMINATION AND DAMAGES IN CORE ADVERSARY PROCEEDING

    1. Plaintiff objects to Defendants Caliber Home Loans’s ("Caliber") and Specialized Loan
       Servicing, LLC (“SLS”) secured claim pursuant to 11 U.S.C. section 502 as the claim fails to
       adequately support why it should recover the amount of the secured claim, and thus
       wrongfully and unlawfully overstates the amount of Debtors' liability.

    2. This is also an action for actual and statutory damages filed by the Debtors pursuant to
       Sections 105, 362, 501, 502, 503 and 506 of the Bankruptcy Code and Rules 2016 and
       3001 of the Bankruptcy Rules, and violations of N.C.G.S. 75-1.1, et seq, and N.C.G.S.
       75-50, et seq., Prohibited Acts by Debt Collectors.

    3. Plaintiff reserves the right to amend this Complaint should new allegations arise in the
       course of further investigation and discovery.

    4. This claim is brought in defense of foreclosure initiated by Defendant Caliber.

                                JURISDICTION AND VENUE

    5. Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of Title
       28 of the United States Code in that this proceeding arises in and is related to the above-
       captioned Chapter 13 case under Title 11 and concerns property of the Debtor in that
                                                 1
Case 18-00114-5-JNC        Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25                Page 2 of 14




       case.

    6. This Court has both personal and subject matter jurisdiction to hear this case pursuant to
       Section 1334 of Title 28 of the United States Code, and Section 157(b)(2) of Title 28 of the
       United States Code.

    7. This Court has supplemental jurisdiction to hear all state law claims pursuant to Section
       1367 of Title 28 of the United States Code.

    8. This Court also has jurisdiction to hear the Fair Debt Collection Practices Act and Unfair
       and Deceptive Trade Practices Act violations pursuant to Section 1692 of Title 15 of the
       United States Code; thus, federal subject matter jurisdiction is properly founded upon
       Section 1331 of Title 28 of the United States Code.

    9. This matter is primarily a core proceeding and therefore the Bankruptcy Court has
       jurisdiction to enter a final order. However, in the event this case is determined to be a
       non-core preceding, then and in that event the Plaintiffs consent to entry of a final order
       by the Bankruptcy Judge.

    10. Venue lies in this District pursuant to Section 1391(b) of Title 28 of the United States
        Code.

 NOW COMES, Plaintiff, Sharon Kennedy, by and through the undersigned counsel and
 complaining of Defendants Caliber and SLS, alleges and says:

                                             PARTIES

    1. Plaintiff, SHARON KENNEDY, (hereinafter “Plaintiff” or “Ms. Kennedy”) is a Debtor
       in this case, having filed their Chapter 13 petition on June 22, 2017, in case number 17-
       03101, presently pending before this Court.

    2. Upon information and belief, Defendant Caliber is a financial services company
       headquartered in Irving, Texas and maintains a registered office and agent located at CT
       Corporation System, 160 Mine Lake Court, Suite 200, Raleigh, North Carolina 27615-
       6417. Caliber is a creditor in the Debtor’s case presently pending before this Court.
       Caliber is, upon information and belief, approved under the laws of North Carolina to
       conduct business servicing mortgage loans secured by real property herein.

    3. Upon information and belief, Defendant SLS is a financial services company
       headquartered in Highlands, Colorado and maintains a registered office and agent located
       at 15720 Brixham Hill Avenue #300, Charlotte, NC 28277.

    4. Defendant Substitute Trustee Services (hereinafter “Substitute Trustee”) is named as the
       present Substitute Trustee of the Deed of Trust that secures the loan, which is the subject


                                                  2
Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25               Page 3 of 14




       of the complaint, and is named as a party in its capacity as Substitute Trustee to the extent
       necessary for purposes of the declaratory relief sought by the Plaintiff.

                                             FACTS

    5. Plaintiff and her former husband, Mr. Jeffrey Kennedy (now deceased), executed a
       Promissory Note and Deed of Trust in favor of JPMorgan Chase Bank, N.A. (“Chase”) in
       the original amount of One Hundred Twenty-One Thousand and 00/100 Dollars
       ($121,000.00) (this indebtedness is referred to hereinafter as the “Loan”) on or about
       September 26, 2005. The Loan was secured by the real property located at 48155 Buxton
       Back Road, Buxton, North Carolina, 27920 (hereinafter “the Property”). See Promissory
       Note and Deed of Trust attached hereto as Exhibit 1.

    6. In or about 2011, Mr. and Mrs. Kennedy separated and divorced.

    7. On or about April 13, 2011, as a part of the Interim Distribution Order entered by the
       presiding judge in Dare County and related to the division of marital property, Mr.
       Kennedy conveyed his interest in the Property to Plaintiff. See Non-Warranty Deed
       attached hereto as Exhibit 2.

    8. Plaintiff fell behind on payments for the Loan due to the reduction in income from the
       divorce from Mr. Kennedy and requested loss mitigation from Chase, which was
       approved.

    9. On or about November 3, 2011, Plaintiff executed the Home Affordable Modification
       Agreement (“Chase Modification Agreement”) with Chase. See Chase Modification
       Agreement attached hereto as Exhibit 3.

    10. On or about December 7, 2011, Chase executed the Chase Modification Agreement and
        sent Plaintiff a letter indicating Plaintiff completed the requirements for a permanent
        modification and enclosed the executed Chase Modification Agreement. See Exhibit 3.

    11. The Chase Modification Agreement indicates, on Page 1, “if [Plaintiff’s] representations
        and covenants in Section 1 continue to be true in all material respects, then this Home
        Affordable Modification Agreement […] will, as set forth in Section 3, amend and
        supplement (1) the Mortgage on the Property, and (2) the Note secured by the Mortgage.”

    12. Also on Page 1, the Chase Modification Agreement indicates it “will not take effect
        unless the preconditions set forth in Section 2 have been satisfied.”

    13. Under Section 2(B), entitled “Acknowledgements and Preconditions to Modification,”
        the Chase Modification Agreement indicates the Loan “will not be modified unless and
        until (i) the Lender accepts this Agreement by signing and returning a copy of it to
        [Chase], and (ii) the Modification Effective Date (as defined in Section 3) has occurred.”

    14. Section 3 of the Chase Modification Agreement, entitled “The Modification,” indicates
        the Loan “will automatically become modified on December 01, 2011” if Plaintiff’s

                                                 3
Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25            Page 4 of 14




       representations and covenants in Section 1 remain true and “all preconditions to the
       modification in Section 2 have been met.”

    15. Under Section 4(F), entitled “Additional Agreements,” the Chase Modification
        Agreement indicates “the Lender and [Plaintiff] will be bound by, and will comply with,
        all of the terms and conditions of the Loan Documents.”

    16. Plaintiff’s representations and covenants in Section 1 of the Chase Modification
        Agreement remain true.

    17. Plaintiff met all preconditions of Section 2 of the Chase Modification Agreement.

    18. Section 3 of the Chase Modification Agreement indicates a due date of December 01,
        2011 for “the first modified payment.” Plaintiff made the first modified payment and
        other monthly payments according to the terms of the Chase Modification Agreement.

    19. Upon information and belief, servicing of the modified loan was transferred from Chase
        to Vericrest Financial, now known as Caliber, in or about March 2013.

    20. Plaintiff made payments to Vericrest in March and April 2013, by telephone, in
        accordance with the terms of the Chase Modification Agreement.

    21. In or about May 2013, Plaintiff received notice that the loan servicer of her mortgage
        loan was changing to Caliber Home Loans.

    22. In or about May 2013, Plaintiff called Caliber to inquire how and where to make monthly
        mortgage payments. Plaintiff made her monthly payment, according to the terms of the
        Chase Modification Agreement, while on the call with Caliber.

    23. On or about June 20, 2013, Chase, granted, sold, assigned, transferred, and conveyed all
        beneficial interest in the Deed of Trust to Caliber, as indicated in the North Carolina
        Assignment of Deed of Trust recorded on August 8, 2013 with the Dare County Register
        of Deeds.

    24. As a result of the Assignment of Deed of Trust, Caliber is a successor-in-interest to the
        Chase Modification Agreement.

    25. In or about June 2013, Plaintiff called Caliber to make a payment and was informed by
        Caliber that her mortgage loan was under “modification review” and instructed her to
        hold off on making payments until Caliber could confirm the amount of her monthly
        mortgage payment.

    26. Throughout June and July 2013, Plaintiff continued to call Caliber to make her monthly
        mortgage payments, but her payments were refused by Caliber due to “modification
        review” by Caliber.

    27. Upon information and belief, on or about July 15, 2013, Caliber sent Plaintiff a loan
        modification solicitation offering a Streamline Trial with a monthly payment in the

                                                4
Case 18-00114-5-JNC        Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25               Page 5 of 14




       amount of Five Hundred Ten and 23/100 ($510.23) due on August 1, 2013, September 1,
       2013, and October 1, 2013. See Notice of Error (“NOE”) Response dated March 23,
       2016, attached as Exhibit 4.

    28. In or around August 2013, Client called Caliber and Caliber refused to accept payment
        from Plaintiff but referred Plaintiff to the hardest hit program, for which Plaintiff did not
        qualify because she was unable to pay the arrearage of three months of payments at one
        time.

    29. On or about August 8, 2013, Caliber sent Plaintiff a correction letter advising the loan
        modification solicitation sent on or about July 15, 2013 was sent in error.

    30. Upon information and belief, Caliber referred Plaintiff’s mortgage loan to foreclosure on
        or about September 20, 2013. See Exhibit 4

    31. On or about December 27, 2013, Caliber continued foreclosure proceedings, with a
        foreclosure hearing scheduled for February 21, 2014.

    32. In or about February 2014, as Plaintiff had submitted a complete loss mitigation
        application, Caliber placed a hold on foreclosure proceedings due to loss mitigation
        review.

    33. On or about April 3, 2014, Caliber mailed a letter to Plaintiff indicating Caliber was
        reviewing Plaintiff’s loss mitigation application.

    34. Over the course of about ten months, Caliber requested documents from Plaintiff and
        Plaintiff submitted requested documents to Caliber.

    35. On or about February 11, 2015, an amended notice of hearing was served on Plaintiff by
        Sheriff Deputy, for a foreclosure hearing scheduled for March 13, 2015, in Dare County.

    36. On or about February 13, 2015, a formal Request for Information was submitted to
        Caliber, on behalf of Plaintiff, via email and certified mail, return receipt requested.

    37. On or about February 19, 2015, Caliber indicated by telephone that Plaintiff’s mortgage
        loan was being reviewed for a Home Affordable Modification Program loan modification
        but Plaintiff needed to submit updated bank statements for the months of December 2014
        and January 2015, with rental deposits highlighted.

    38. On or about February 20, 2015, Plaintiff submitted bank statements for December 2014
        and January 2015, with rental deposits highlighted, to Caliber by email.

    39. On or about March 6, 2015, Caliber mailed Plaintiff a letter indicating the results of a
        valuation report completed at the direction of Caliber as a part of Plaintiff’s loss
        mitigation application.

    40. On or about March 9, 2015, Caliber indicated Plaintiff’s application was complete, but
        underwriting requested a non-warranty deed indicating Mr. Kennedy transferred his

                                                 5
Case 18-00114-5-JNC        Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25               Page 6 of 14




       interest in the Property to Plaintiff.

    41. On or about March 10, 2015, the non-warranty deed, previously submitted by Plaintiff to
        Caliber, was emailed to Caliber per its request.

    42. Upon information and belief, due to loss mitigation review, Caliber canceled the
        foreclosure hearing scheduled for March 13, 2015.

    43. On or about April 10, 2015, an appeal of the loss mitigation denial was submitted to
        Caliber by email, on behalf of Plaintiff. See attached Exhibit 5.

    44. On or about June 10, 2015, a Notice of Error (“NOE #1”) was sent to Caliber via email
        and certified mail, on Plaintiff’s behalf, due to Caliber’s errant servicing of the loan. See
        attached Exhibit 6.

    45. On or about June 26, 2015, Caliber responded to NOE #1, indicating the Chase
        Modification Agreement was temporary, not a permanent modification of the Loan; that
        the appeal of loss mitigation denial was denied; and a new loan modification application
        would be sent to Plaintiff. See attached Exhibit 7.

    46. On or about July 30, 2015, on behalf of Plaintiff, NOE #2 was sent to Caliber via email
        and certified mail due to the servicing of the loan, more specifically due to the treatment
        of the Chase Modification Agreement as a temporary modification. See NOE #2 attached
        as Exhibit 8.

    47. On or about August 19, 2015, Caliber responded to Plaintiff’s NOE #2, indicating
        Plaintiff began making payments to Caliber in May 2013, which was applied to February
        2013 payment and the loan is due for March 2013 and subsequent payments. See NOE #2
        Response attached as Exhibit 9.

    48. On or about September 28, 2015, Caliber mailed Plaintiff a solicitation for loss mitigation
        application. See attached Exhibit 10.

    49. On or about October 1, 2015, Plaintiff was served an amended notice of hearing, by
        posting on her front door, indicating a foreclosure hearing was scheduled for November
        6, 2015.

    50. Throughout October, November, and December 2015, Plaintiff submitted a Uniform
        Borrower Assistance (“UBA”) form and supplemental documents to Caliber to apply for
        loss mitigation, while Caliber continued to request documents, such as a bank statement
        for December 2015 and profit-and-loss statements for December 2015 related to
        Plaintiff’s employment.

    51. On or about November 6, 2015, a foreclosure hearing was held in Dare County and
        continued for 60 days to allow time to resolve the matter without foreclosure.

    52. On or about January 8, 2016, a foreclosure hearing was held in Dare County and
        continued for 60 days to allow time to resolve the matter without foreclosure.

                                                 6
Case 18-00114-5-JNC        Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25               Page 7 of 14




    53. On or about January 13, 2016, Plaintiff was advised by a Caliber representative that
        December 2015 bank statement was all that was needed to complete Plaintiff’s loss
        mitigation application. Plaintiff submitted December 2015 bank statement with rental
        income deposits highlighted, via email on or about January 15, 2016.

    54. On or about March 8, 2016, a Notice of Error was submitted on behalf of Plaintiff to
        Caliber regarding the errant servicing of the Plaintiff’s mortgage loan, more specifically
        requesting documents already received or unable to be generated. See NOE #4 attached
        as Exhibit 11.

    55. On or about March 23, 2016, Caliber mailed the attached response to NOE #4, requesting
        documents from Plaintiff, including “most recent quarter profit and loss statement as the
        profit and loss statement on file is outdated from October, November, and December,
        2015”. See attached Exhibit 4.

    56. In or about the months of April and May 2016, Caliber requested documents from
        Plaintiff and Plaintiff submitted such documents to Caliber, including monthly profit and
        loss statements related to Plaintiff’s employment and monthly bank statements with
        rental deposits highlighted.

    57. On or about May 13, 2016, a foreclosure hearing was held in Dare County and continued
        for 60 days to allow time to resolve the matter without foreclosure.

    58. On or about June 14, 2016, a complaint was submitted to the Consumer Finance
        Protection Bureau, on behalf of Plaintiff, regarding the servicing of Plaintiff’s loan by
        Caliber. See attached Exhibit 12.

    59. On or about July 4, 2016, Caliber sent the attached letter to Plaintiff indicating terms of
        the Chase Modification Agreement. See letter attached as Exhibit 13

    60. On or about July 5, 2016, Caliber sent the attached letter to Plaintiff indicating all
        documents had been received and Plaintiff’s document package related to modification of
        the Loan was deemed complete. See letter attached as Exhibit 14

    61. On or about July 11, 2016, Caliber mailed a letter to Plaintiff requesting documents
        related to retirement to complete Plaintiff’s loss mitigation application. See letter attached
        as Exhibit 15.

    62. Upon information and belief, the foreclosure hearing scheduled for July 15, 2016 related
        to Plaintiff’s loan was canceled by request of Caliber.

    63. On or about July 18, 2016, an email inquiry was sent to Caliber’s counsel at Hutchens
        Law Firm, the law firm representing Caliber in foreclosure proceedings related to
        Plaintiff’s property, about Plaintiff’s loss mitigation application. See attached Exhibit 16.

    64. On or about July 19, 2018, Caliber’s counsel at Hutchens Law Firm responded to the
        email inquiry by email indicating the firm would look into the issue with Caliber. See
        Exhibit 16.

                                                  7
Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25              Page 8 of 14




    65. On or about August 8, 2016, an email was sent to Caliber’s counsel at Hutchens Law
        Firm to follow up on the inquiry into the loss mitigation application, as a response to the
        inquiry had not been received by Plaintiff. See Exhibit 16.

    66. On or about August 10, 2016, Caliber mailed a letter to Plaintiff indicating her loss
        mitigation application was denied because requested documents were not submitted by
        Plaintiff. See attached as Exhibit 17.

    67. On or about August 17, 2016, an appeal of the denial of loss mitigation was submitted to
        Caliber and Caliber responded with the same reason for denial. See attached as Exhibit
        18.

    68. On or about September 13, 2016, a complaint was submitted to North Carolina
        Commissioner of Banks (“NC COB Complaint”) on behalf of Plaintiff regarding the
        servicing of Plaintiff’s loan by Caliber. See NC COB Complaint attached as Exhibit 19.

    69. Upon information and belief, on or about November 3, 2016, Caliber responded to
        Plaintiff’s NC COB Complaint, indicating Caliber did not receive oral or written
        notification related to the denial of the loss mitigation application. See Caliber NC COB
        Response attached as Exhibit 20.

    70. On or about November 30, 2016, Plaintiff submitted another complete loss mitigation
        package to Caliber and Hutchens Law Firm.

    71. Throughout December and January 2017, Caliber requested documents and Plaintiff
        submitted requested documents to Caliber related to loss mitigation, including an
        obituary published in local newspaper for the death of Plaintiff’s former husband, Mr.
        Kennedy.

    72. On or about January 5, 2017, Caliber consented to continuance of foreclosure hearing
        scheduled for January 6, 2017, to February 3, 2017, due to review of loss mitigation.

    73. On or about February 3, 2017, the foreclosure hearing was ordered continued to April 7,
        2017 because Caliber and Hutchens Law Firm confirmed Plaintiff’s loss mitigation
        application had been elevated for management review, as Plaintiff had submitted all
        documents requested by Caliber.

    74. On or about February 8, 2017, Caliber mailed a letter to Plaintiff indicating her loss
        mitigation application was denied due to incomplete application submitted.

    75. On or about February 21, 2017, a Notice of Error was submitted to Caliber related to the
        errant servicing of Plaintiff’s mortgage loan by Caliber, more specifically not providing
        complete and decipherable payment transaction history for the mortgage loan and not
        providing full and accurate loss mitigation information. See NOE #5 attached as Exhibit
        21.

    76. On or about March 16, 2017, Caliber mailed the attached response to NOE #5, inviting
        Plaintiff to submit an updated loss mitigation application. See NOE#5 Response attached

                                                8
Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25              Page 9 of 14




       as Exhibit 22.

    77. In or about the months of March, April, and May 2017, Plaintiff submitted documents to
        Caliber, at Caliber’s request, to update her loss mitigation application.

    78. On or about May 16, 2017, foreclosure sale was ordered by the Dare County Clerk of
        Court, with a sale date scheduled for July 14, 2017.

    79. On or about May 23, 2017, an appeal of the foreclosure order was filed on behalf of
        Plaintiff.

    80. On or about June 22, 2017, Plaintiff filed Chapter 13 Bankruptcy in this Court, in defense
        of foreclosure.

    81. On or about August 20, 2017, Caliber filed a Proof of Claim, including the Chase
        Modification Agreement, with this Court.

    82. On or about December 22, 2017, SLS mailed Plaintiff a Notice of Servicing Transfer
        indicating the servicing of the mortgage loan had been transferred to SLS effective on
        December 18, 2017.

    83. In or about January 2018, Plaintiff applied for a loan modification with SLS that was
        denied based on the “inability to achieve a principal and interest payment reduction.”

    84. As a result of Caliber’s non-compliance with the Chase Modification Agreement and
        refusal to accept monthly payments, Plaintiff’s property was foreclosed and the Loan has
        added cost and fees, including foreclosure costs, late fees, and attorney fees.

                 FIRST CLAIM FOR RELIEF AGAINST CALIBER AND SLS
                          OBJECTION TO PROOF OF CLAIM

    1. The allegations contained in the preceding paragraphs are incorporated herein by
       reference as if fully set forth.

    2. On or about September 5, 2017, Caliber filed a Proof of Claim in Plaintiff’s Chapter 13
       case alleging a secured claim due to arrearages and accelerated mortgage debt.

    3. On or about December 18, 2017, the servicing of the mortgage loan was transferred to
       SLS from Caliber.

    4. Caliber’s Proof of Claim is objectionable as it fails to adequately support why it should
       recover the amount of the secured claim based on the following: (1) its refusal to honor
       the binding, permanent Chase Modification Agreement, to which it obtained ownership
       and servicing rights as a successor-in-interest; and (2) its refusal to accept payments from
       the Plaintiff in her attempts to comply with the terms of the permanent Chase
       Modification Agreement.



                                                 9
Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25               Page 10 of 14




                SECOND CLAIM FOR RELIEF AGAINST CALIBER AND SLS
                             BREACH OF CONTRACT

    4. The allegations contained in the preceding paragraphs are incorporated herein by
       reference as if fully set forth.

    5. On or about November 3, 2011, Plaintiff accepted the Chase Modification Agreement by
       executing it.

    6. The Chase Modification Agreement was executed by Chase on or about December 7,
       2011 and was effective as of December 10, 2011, when Plaintiff made her first modified
       payment.

    7. Consideration in support of contract formation was exchanged by the parties in that:

           a.      Plaintiff engaged in additional undertakings not required by or contemplated
                   by the original Promissory Note and Deed of Trust concerning the Loan in
                   their efforts to obtain the Modification Agreement; and

           b.      Chase engaged in a forbearance of its right to pursue remedies available to it
                   under the original Promissory Note and Deed of Trust.

    8. The Modification Agreement was and is a binding contract between Chase and Plaintiff.

    9. Upon information and belief, Caliber and SLS are the successors-in-interest to Chase
       related to Plaintiff’s Loan.

    10. As successors-in-interest to Chase’s rights to service Plaintiff’s Loan, Caliber and SLS
        are bound by the terms of the Chase Modification Agreement.

    11. Caliber has breached the contract reflecting the existing Loan terms by refusing to honor
        the Chase Modification Agreement after servicing was transferred to it on or about April
        16, 2013, by misapplying payments that were made by Plaintiff following the servicing
        transfer and by refusing to accept Plaintiff’s Loan payments beginning in June 2013.

    12. As a result of Caliber’s breach of contract, Plaintiff has suffered damages in excess of
        $25,000.

                THIRD CLAIM FOR RELIEF AGAINST CALIBER AND SLS
                BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

    13. The allegations contained in the preceding paragraphs are incorporated herein by
        reference as if fully set forth.

    14. In every contract, there is an implied duty of good faith and fair dealing that neither party
        will do anything which injures the right of the other to receive the benefits of the
        agreement. A mortgage loan transaction or modification is a contract that would contain
        such an implied duty, as would the relationships between homeowner/servicer,

                                                 10
Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25              Page 11 of 14




       mortgagor/mortgagee, and borrower/creditor.

    15. Caliber had a duty to honor the Chase Modification Agreement between Plaintiff and
        Chase, and to make good faith efforts to quickly determine the validity of the Chase
        Modification Agreement, if there was any question as to its status.

    16. Caliber breached its duty of good faith and fair dealing in a number of ways, including,
        but not limited to:

           a.      Preventing Plaintiff from performing under the Chase Modification
                   Agreement;

           b.      Refusing to honor the terms of the Chase Modification Agreement and
                   charging Plaintiff interest and fees in excess of that permitted by the Chase
                   Modification Agreement and applicable law;

           c.      Misapplying payments made by Plaintiffs following the transfer of loan
                   servicing to Caliber on or about April 16, 2013, as payments were not applied
                   in accordance with the Chase Modification Agreement; and

           d.      Failing to investigate Plaintiff’s representations as set forth in the foregoing
                   paragraphs as to the then-existing disposition of the Loan.

    17. As successor-in-interest to Caliber, SLS is liable for Caliber’s breach.

    18. As a result of Caliber’s actions, Plaintiff has suffered damages in excess of $25,000.00.
        Plaintiff has also suffered anxiety, frustration, and inconvenience in attempting to resolve
        this matter.

                FOURTH CLAIM FOR RELIEF AGAINST CALIBER AND SLS
                           UNFAIR DEBT COLLECTION

    19. The allegations contained in the preceding paragraphs are incorporated herein by
        reference as if fully set forth.

    20. Plaintiff is a “consumer” as defined by N.C.G.S. §75-50(1), and any payments Plaintiff
        allegedly owed Caliber were “debts” as defined by N.C.G.S. §75-50(2).

    21. Caliber and SLS are “debt collectors” as defined by N.C.G.S. §75-50(3).

    22. Caliber collected and/or attempted to collect its debt from Plaintiff through the use of
        unfair threats in violation of N.C. Gen. Stat. § 75-51, through the following acts, which
        include, but are not limited to:

           a.      Caliber continuing to request documents to modify the Loan while pursuing
                   foreclosure proceedings and not honoring Chase Modification Agreement; and

           b.      Such other actions of Caliber that may come to light through discovery.

                                                 11
Case 18-00114-5-JNC      Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25              Page 12 of 14




    23. Caliber collected and/or attempted to collect its debt from Plaintiff through the use of
        fraudulent, deceptive, and/or misleading representations in violation of N.C. Gen. Stat. §
        75-54, through the following acts, which include, but are not limited to:

           a.      Making repeated demands to Plaintiff asserting that the Loan is in a
                   delinquent status, that the Loan balance would be accelerated, and that the
                   Property could potentially be sold to satisfy the accelerated Loan balance;

           b.      Falsely representing the amount owed in each demand regarding the alleged
                   delinquent balance;

           c.      Refusing to honor the Chase Modification Agreement; and

           d.      Such other actions of Caliber that may come to light through discovery.

    24. Caliber collected and/or attempted to collect its debt from Plaintiff through the use of
        unconscionable means in violation of N.C. Gen. Stat. § 75-55, through the following acts,
        which include, but are not limited to:

           a.      Making repeated demands to Plaintiff asserting that the Loan is in a
                   delinquent status, that the Loan balance would be accelerated, and that the
                   Property could potentially be sold to satisfy the accelerated Loan balance;

           b.      Falsely representing the amount owed in each demand regarding the alleged
                   delinquent balance;

           c.      Refusing to honor the Chase Modification Agreement; and

           d.      Such other actions of Caliber that may come to light through discovery.

    25. Caliber proximately caused injury to Plaintiff in that her Loan payments have not been
        appropriately applied by Caliber pursuant to the Chase Modification Agreement, she has
        been charged interest and fees in excess of the amount permitted in the Chase
        Modification Agreement or applicable law, and she has suffered anxiety, frustration, and
        inconvenience in attempting to resolve this matter.

    26. Caliber and SLS, as successor-in-interest, are liable for Plaintiff’s actual damages, which
        are in excess of $25,000.00, plus no less than $500.00 and no more than $4,000.00 in
        statutory damages for each violation of N.C. Gen. Stat. § 75-50, et. seq., and reasonable
        attorney's fees pursuant to N.C. Gen. Stat. § 75-16.1.

                 FIFTH CLAIM FOR RELIEF AGAINST CALIBER AND SLS
                            UNFAIR TRADE PRACTICES

    27. The allegations contained in the preceding paragraphs are incorporated herein by
        reference as if fully set forth.

    28. The business of making, modifying, and/or servicing home loans constitutes “commerce”

                                                12
Case 18-00114-5-JNC      Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25              Page 13 of 14




       pursuant to N.C.G.S. § 75-1.1.

    29. The actions of Caliber and SLS as set forth in this pleading constitute unfair and
        deceptive trade practices pursuant to N.C. Gen. Stat. § 75-1.1. In particular, Caliber’s
        acts and failures to act, which include, but are not limited to, the following, were unfair
        and/or deceptive by:

           a.      Preventing Plaintiff from performing under the Chase Modification
                   Agreement;

           b.      Refusing to honor the terms of the Chase Modification Agreement;

           c.      Charging Plaintiff interest and fees in excess of that permitted by the Chase
                   Modification Agreement and applicable law;

           d.      Misapplying payments made by Plaintiff following the transfer of loan
                   servicing to Caliber on or about April 16, 2011, as payments were not applied
                   in accordance with the Chase Modification Agreement; and

           e.      Failing to investigate Plaintiff’s representations as set forth in the foregoing
                   paragraphs as to the then-existing disposition of the Loan.

    30. Caliber and SLS’s above-described conduct was unfair and deceptive in violation of
        N.C.G.S. §75-1.1 because it was knowing and willful, offensive to established public
        policy, immoral, unethical, oppressive, unscrupulous and/or substantially injurious to
        consumers.

    31. Caliber and SLS proximately caused injury to Plaintiff in that her Loan payments have
        not been appropriately applied by Caliber pursuant to the Chase Modification Agreement,
        they have been charged interest and fees in excess of the amount permitted in the Chase
        Modification Agreement or applicable law, and they have suffered anxiety, frustration,
        and inconvenience in attempting to resolve this matter.

    32. Plaintiff is entitled to actual damages in excess of $25,000.00 for the violations of N.C.
        Gen. Stat. § 75-1.1.

    33. Plaintiff is entitled to recover treble the amount of their actual damages pursuant to N.C.
        Gen. Stat. § 75-16, and Caliber is liable for reasonable attorney’s fees pursuant to N.C.
        Gen. Stat. § 75-16.1.

                    SIXTH CLAIM FOR RELIEF AGAINST CALIBER AND SLS
                      AND FIRST CLAIM AGAINST SUBSTITUTE TRUSTEE
                             CLAIM FOR DECLARATORY RELIEF

    34. The allegations contained in the preceding paragraphs are incorporated herein by
        reference as if fully set forth.

    35. Caliber and SLS are named in this Claim as the owner, holder, and servicer of Plaintiff’s

                                                13
Case 18-00114-5-JNC       Doc 1 Filed 10/31/18 Entered 10/31/18 15:18:25               Page 14 of 14




       loan.

    36. Substitute Trustee Services is named in this Claim only in its capacity as Substitute
        Trustee and as an interested party proceeding with the underlying foreclosure proceeding
        (14 SP 5, Dare County) at the instruction of Caliber.

    37. Plaintiff seeks a declaratory judgment, pursuant to 28 U.S.C. § 2201, which sets aside the
        arrearage related to the Plaintiff’s loan and the foreclosure order related to the underlying
        foreclosure proceeding (14 SP 5).

 WHEREFORE, Plaintiff prays the Court as follows:

    1. That the Court deny the claim of Defendants Caliber and SLS;

    2. That the Court preclude Caliber and SLS from filing any amended, modified, or
       substitute claims in this case;

    3. That the Court enter an Order requiring Caliber and SLS to comply with the terms of the
       Chase Modification Agreement;

    4. That Caliber and SLS be ordered to pay to Plaintiff actual damages in an amount in
       excess of $25,000.00 for losses incurred by Plaintiff due to Caliber’s actions;

    5. That Plaintiff’s actual damages from the unfair and deceptive trade practices of Caliber
       and SLS be trebled;

    6. That Caliber and SLS be ordered to pay to Plaintiff her costs and attorneys' fees as
       permitted by statute;

    7. That the Court award Plaintiff $4,000.00 in statutory damages for each of Caliber and
       SLS’s violations of N.C. Gen. Stat. § 75-50, et seq.;

    8. That the Court award the declaratory relief sought herein;

    9. That the Court grants such other relief to the Plaintiff as the Court deems just and proper.

       This the 30th day of October, 2018.

                                              LEGAL AID OF NORTH CAROLINA, INC.
                                              ATTORNEY FOR PLAINTIFF



                                              By:     _____________________________
                                                      Alexis C. Pugh, NCSB: 47131
                                                      P. O Box 564
                                                      Ahoskie, NC 27910
                                                      T: (252)301-2701
                                                      F: (919) 714-6564

                                                 14
